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The following constitutes the ruling of the court and has the force and effect therein described.



Signed January 8, 2019
                                           United States Bankruptcy Judge
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

     IN RE:                                 §
                                            §
     SOVRANO, LLC,                          §                              CASE NO. 19-40067-11
     MR. GATTI’S, LP,                       §                              CASE NO. 19-40069-11
     GATTI’S GREAT PIZZA, INC.,             §                              CASE NO. 19-40070-11
     GIGI’S CUPCAKES, LLC,                  §                              CASE NO. 19-40072-11
     GIGI’S OPERATING, LLC,                 §                              CASE NO. 19-40073-11
     GIGI’S OPERATING II, LLC,1             §                              CASE NO. 19-40074-11
                                            §
           Debtors.                         §                              (Joint Administration Requested)
                                            §
     ______________________________________ §

             ORDER GRANTING JOINT EMERGENCY MOTION AUTHORIZING
          THE DEBTORS TO (I) HONOR CERTAIN PREPETITION OBLIGATIONS TO
          CUSTOMERS, (II) HONOR PREPETITION MARKETING PROGRAM WITH
          FRANCHISEES, (III) CONTINUE CERTAIN CUSTOMER AND FRANCHISEE
           PROGRAMS AND PRACTICES, AND (IV) GRANTING RELATED RELIEF




     1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sovrano, LLC (1470); Mr. Gatti’s, LP (0879); Gatti’s Great Pizza, Inc. (6061); Gigi’s
     Cupcakes, LLC (8356); Gigi’s Operating, LLC (0621); and Gigi’s Operating II, LLC (8396).

     ORDER GRANTING EMERGENCY MOTION AUTHORIZING THE DEBTORS TO (I) HONOR CERTAIN
     PREPETITION OBLIGATIONS TO CUSTOMERS, (II) HONOR PREPETITION MARKETING PROGRAM
     WITH FRANCHISEES, (III) CONTINUE CERTAIN CUSTOMER AND FRANCHISEE PROGRAMS AND
     PRACTICES, AND (IV) GRANTING RELATED RELIEF                                                            PAGE 1 OF 3
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           CAME ON FOR CONSIDERATION, the Joint Emergency Motion Authorizing the

Debtors to (I) Honor Certain Prepetition Obligations to Customers, (II) Honor Prepetition

Marketing Program with Franchisees, (III) Continue Certain Customer and Franchisee

Programs and Practices, and (IV) Granting Related Relief (the “Motion”). The Court finds and

concludes as follows:

           a)       The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334;

           b)       The Motion is a core proceeding under 28 U.S.C. § 157(b);

           c)       Venue of this proceeding and the Motion in this district is proper under 28 U.S.C.

                    § 1409;

           d)       The relief requested in the Motion is in the best interests of the Debtors’ estates,

                    their creditors, and other parties-in-interest; and

           e)       The Debtors provided sufficient and appropriate notice of the Motion under the

                    circumstances.

           Having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief requested therein, it is ORDERED that:

           1.       The Motion is GRANTED;

           2.       The Debtors are authorized to maintain, continue and administer their Programs2;

           3.       The Debtors are authorized to renew, replace, implement or modify their

Programs;

           4.       The Debtors are authorized to pay and otherwise honor their obligations related to

the Programs, including but not limited to honoring gift cards issued prepetition and the

prepetition amounts owed to franchisees under the Franchisee Programs;

2
    All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.

ORDER GRANTING EMERGENCY MOTION AUTHORIZING THE DEBTORS TO (I) HONOR CERTAIN
PREPETITION OBLIGATIONS TO CUSTOMERS, (II) HONOR PREPETITION MARKETING PROGRAM
WITH FRANCHISEES, (III) CONTINUE CERTAIN CUSTOMER AND FRANCHISEE PROGRAMS AND
PRACTICES, AND (IV) GRANTING RELATED RELIEF                                                             PAGE 2 OF 3
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       5.         The Debtors are authorized to take all actions necessary to implement the relief

granted in this order;

       6.         The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this order;

       7.         To the extent applicable, Federal Rule of Bankruptcy Procedure 6003(b) has been

satisfied because the relief requested in the Motion is necessary to avoid immediate and

irreparable harm to the Debtors;

       8.         To the extent Federal Rule of Bankruptcy Procedure 6004(a) applies to the relief

sought in the Motion, the Debtors are excused from complying with the notice requirements of

Rule 6004(a); and

       9.         Notwithstanding any applicability of Federal Rule of Bankruptcy Procedure

6004(h), the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

                                     ### END OF ORDER ###



Submitted by:


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Proposed Counsel for Debtors


ORDER GRANTING EMERGENCY MOTION AUTHORIZING THE DEBTORS TO (I) HONOR CERTAIN
PREPETITION OBLIGATIONS TO CUSTOMERS, (II) HONOR PREPETITION MARKETING PROGRAM
WITH FRANCHISEES, (III) CONTINUE CERTAIN CUSTOMER AND FRANCHISEE PROGRAMS AND
PRACTICES, AND (IV) GRANTING RELATED RELIEF                                               PAGE 3 OF 3
